           Case 3:17-cv-00558-SRU Document 222 Filed 05/23/18 Page 1 of 6



                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


 ONTARIO TEACHERS’ PENSION PLAN
 BOARD, Individually and as Lead Plaintiff on                        Civ. A. No. 3:17-cv-00558 (SRU)
 behalf of all others similarly situated; and                             CONSOLIDATED with
 ANCHORAGE POLICE & FIRE RETIREMENT                                  Civ. A. No. 3:17-cv-00559 (SRU)
 SYSTEM, Individually and as Named Plaintiff on
 behalf of all similarly-situated bond purchasers,

         Plaintiffs,

 v.

 TEVA PHARMACEUTICAL INDUSTRIES LTD.,
 et al.,
                                                                               MAY 23, 2018
         Defendants.

          ASSENTED-TO MOTION OF THE TEVA DEFENDANTS TO MODIFY
         THE BRIEFING SCHEDULE ON DEFENDANTS’ MOTIONS TO DISMISS

         Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and Rule 7(b) of the Local

 Rules, the Teva Defendants,1 with the assent of Lead Plaintiffs, the Underwriter Defendants,2

 and Defendant Kesselman & Kesselman d/b/a PWC Israel (collectively, the “Parties”),

 respectfully move to modify the briefing schedule in connection with Defendants’ forthcoming

 motions to dismiss the Amended Consolidated Class Action Complaint. In support of this

 Motion, the Teva Defendants state as follows:


 1
  “Teva Defendants” meaning Teva Pharmaceutical Industries Ltd., Teva Pharmaceutical Finance Netherlands III
 B.V., Erez Vigodman, Eyal Desheh, Yaacov “Kobi” Altman, Allan Oberman, Sigurdur Olafsson, Yitzhak Peterburg,
 Dipankar Bhattacharjee, Deborah Griffin, Roger Abravanel, Sol J. Barer, Arie S. Belldegrun, Rosemary A. Crane,
 Amir Elstein, Jean-Michel Halfon, Gerald M. Lieberman, Galia Maor, Joseph Nitzani, Ory Schneur Slonim,
 Gabrielle Greene Sulzburger, Dr. Robert Koremans, Gianfranco Nazzi, John Nason, and David Vrhovec.

 2
  “Underwriter Defendants” meaning Barclays Capital Inc., Merrill Lynch, Pierce, Fenner and Smith Incorporated,
 BNP Paribas Securities Corp., Citigroup Global Markets Inc., Credit Suisse Securities (USA) LLC, HSBC
 Securities (USA) Inc., Mizuho Securities USA LLC (f/k/a Mizuho Securities USA Inc.), Morgan Stanley & Co.
 LLC, RBC Capital Markets, LLC, SMBC Nikko Securities America, Inc., Bank of China Limited London Branch,
 BBVA Securities Inc., Commerz Markets LLC, Lloyds Securities Inc., MUFG Securities Americas Inc., PNC
 Capital Markets LLC, Scotia Capital (USA) Inc., and TD Securities (USA) LLC.



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           Case 3:17-cv-00558-SRU Document 222 Filed 05/23/18 Page 2 of 6



       1.      The Court dismissed the Consolidated Class Action Complaint without prejudice

on April 3, 2018. ECF No. 215.

       2.      Also on April 3, 2018, the Court issued a Scheduling Order establishing a

deadline for Lead Plaintiffs to file an Amended Consolidated Class Action Complaint, and a

briefing schedule on Defendants’ motions to dismiss that complaint. ECF No. 216.

       3.      On April 11, 2018, Lead Plaintiffs filed a motion for extension of time by

approximately three weeks to file their Amended Consolidated Class Action Complaint due to

conflicts on the calendars of Lead Counsel, with adjusted dates for the motion to dismiss briefing

tied to the new deadline for filing of the new Amended Consolidated Class Action Complaint.

ECF No. 219.

       4.      Defendants did not oppose that motion.

       5.      The Court granted Lead Plaintiffs’ motion on April 25, 2018 (ECF No. 220) and

entered a Scheduling Order (ECF No. 221) (the “April 25 Scheduling Order”), which established

the following deadlines:

       •    Lead Plaintiff shall file an Amended Consolidated Class Action Complaint on
            or before 6/22/2018;

       •    Defendants shall file any motion to dismiss the Amended Consolidated Class
            Action Complaint on or before 8/9/2018;

       •    Lead Plaintiff shall file any opposition to the motion to dismiss the
            Consolidated Class Action Complaint on or before 9/24/2018;

       •    Defendants shall file any reply in support of their motion to dismiss the
            Amended Consolidated Class Action Complaint on or before 11/8/2018.

       6.      Following the Court’s entry of the April 25, 2018 Scheduling Order, a number of

conflicts with the motion to dismiss briefing deadlines in the April 25 Scheduling Order have

arisen for counsel for the Teva Defendants as a consequence of work commitments, summer


                                                2
           Case 3:17-cv-00558-SRU Document 222 Filed 05/23/18 Page 3 of 6



vacation schedules, and personal illness issues affecting key members of Teva Defendants’

counsel team.

       7.       The Parties have conferred and coordinated their schedules, and hereby seek a

modest extension of the April 25 Scheduling Order deadlines related to Defendants’ motions to

dismiss as follows:

       •     Defendants shall file any motion to dismiss the Amended Consolidated Class
             Action Complaint on or before August 30, 2018;

       •     Lead Plaintiffs shall file any opposition to Defendants’ motions to dismiss the
             Consolidated Class Action Complaint on or before October 22, 2018;

       •     Defendants shall file any reply in support of their motions to dismiss the
             Amended Consolidated Class Action Complaint on or before December 6,
             2018.

       8.       The Parties do not seek a further extension of time for Lead Plaintiff to file an

Amended Consolidated Class Action Complaint, which is due on June 22, 2018.

       9.       Good cause exists for this extension because, as a consequence of work and

vacation schedules, the intervening holidays, and family illnesses, counsel for the Parties would

be unable to meet the deadlines set forth in the April 25 Scheduling Order, despite the Parties’

diligence.

       10.      This is the Teva Defendants’ first motion for extension of time concerning the

deadlines on the Defendants’ motion to dismiss the Amended Class Action Complaint. The

proposed extensions will not cause excessive delay in the litigation, nor will they unduly

prejudice the Parties. All Parties agree to the proposed schedule.

       11.      There currently is no date scheduled for a hearing on Defendants’ motions to

dismiss the Amended Consolidated Class Action Complaint.                  The Parties will work




                                                 3
        Case 3:17-cv-00558-SRU Document 222 Filed 05/23/18 Page 4 of 6



cooperatively to propose mutually convenient dates for oral argument for the Court’s

consideration.

       WHEREFORE, the Teva Defendants respectfully request, together with such other and

further relief as the Court deems appropriate, that the Court grant this Motion, extending the

deadlines on Defendants’ motions to dismiss the Amended Consolidated Class Action Complaint

as follows:

       (a) Defendants shall file any motion to dismiss the Amended Consolidated Class Action

Complaint on or before August 30, 2018;

       (b) Lead Plaintiffs shall file any opposition to the motions to dismiss the Consolidated

Class Action Complaint on or before October 22, 2018; and

       (c) Defendants shall file any reply in support of their motions to dismiss the Amended

Consolidated Class Action Complaint on or before December 6, 2018.




                                              4
Case 3:17-cv-00558-SRU Document 222 Filed 05/23/18 Page 5 of 6



                                  Respectfully submitted,

                                  /s/ Jordan D. Hershman
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                                  – and –

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                              5
         Case 3:17-cv-00558-SRU Document 222 Filed 05/23/18 Page 6 of 6



                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of May, 2018, a copy of the foregoing was filed
electronically and served by mail upon anyone unable to accept electronic filing. Notice of this
filing will be sent by email to all parties by operation of the Court’s electronic filing system or by
mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.

                                                      /s/ Jordan D. Hershman

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                                                  6
